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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                               )
 MAKE THE ROAD STATES, INC.,                   )
 NAACP BUCKS COUNTY BRANCH                     )
 2253, BUXMONT UNITARIAN                       )
 UNIVERSALIST FELLOWSHIP,                      )
 and JUAN NAVIA,                               )
                                               )   No. 2:25-cv-02938
            Plaintiffs,                        )
                                               )
            v.                                 )
                                               )
 FREDERICK A. HARRAN,                          )
 individually and in his official              )
 capacity as Sheriff of Bucks County,          )
 and BUCKS COUNTY,                             )
                                               )
            Defendants.                        )


                    PLAINTIFFS’ PETITION FOR ATTORNEYS’ FEES

       Plaintiffs Make the Road States, Inc., NAACP Bucks County Branch 2253, Buxmont

Unitarian Universalist Fellowship, and Juan Navia (collectively, “Plaintiffs”), through counsel,

respectfully petition this Court pursuant to 28 U.S.C. § 1447(c) and the Court’s Order of June 27,

2025 (Dkt. 22), for an award of $35,170.00 in attorneys’ fees incurred as a result of the removal

filed by Defendant Frederick A. Harran in this matter. The reasons for this Petition are set forth in

the accompanying Brief in Support and supporting Declarations, which are fully incorporated by

reference herein.
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Dated:   July 2, 2025               Respectfully submitted,

                                 By: /s/ Stephen A. Loney, Jr.
Marielle Macher (No. 318142)          Stephen A. Loney, Jr. (No. 202535)
Daniel Vitek (No. 209013)             Ari Shapell (No. 330409)
COMMUNITY JUSTICE PROJECT             Keith Armstrong (No. 334758)
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Harrisburg, PA 17101                  OF PENNSYLVANIA
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                                        Counsel for Plaintiffs
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the date set forth below, I caused the foregoing document to be

served on all parties of record via the Court’s CM/ECF system.



Dated: July 2, 2025                               s/ Stephen A. Loney
